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                                UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF DELAWARE


In re:                                                         Chapter 7

ART VAN FURNITURE, LLC., et al.,1                              Case No. 20-10553 (CTG)

                                     Debtors.                  Jointly Administered


TODD STEWART and JENNIFER SAWLE on                             Adv. Pro. No. 20-50548 (CTG)
behalf of themselves and all others similarly
situated,

                                     Plaintiff,
v.

ART VAN FURNITURE, LLC, et al.,

                                     Defendants.


                                          NOTICE OF CROSS-APPEAL

          Alfred T. Giuliano, the chapter 7 trustee (the “Trustee”) of the bankruptcy estates of Art

 Van Furniture, LLC, AVF Holding Company, Inc., AVCE, LLC, AVF Holdings I, LLC, AVF

 Holdings II, LLC, AVF Parent, LLC, Levin Parent, LLC, Art Van Furniture of Canada, LLC,

 AV Pure Sleep Franchising, LLC, AVF Franchising, LLC, LF Trucking, Inc., Sam Levin, Inc.,

 and Comfort Mattress LLC (collectively, the “Debtors” or the “Defendants”) in the above-

 captioned adversary proceeding, by and through his undersigned counsel, hereby gives notice of

 its cross-appeal pursuant to 28 U.S.C. § 158(aa) and Rules 8001 and 8002 of the Federal Rules of

 Bankruptcy Procedure from the Opinion (the “Opinion”), dated March 21, 2022 [D.I 63], and the


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   The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, include:
 Art Van Furniture, LLC (9205); AVF Holding Company, Inc. (0291); AVCE, LLC (2509); AVF Holdings I, LLC
 (2537); AVF Holdings II, LLC (7472); AVF Parent, LLC (3451); Levin Parent, LLC (8052); Art Van Furniture of
 Canada, LLC (9491); AV Pure Sleep Franchising, LLC (8968); AVF Franchising, LLC (6325); LF Trucking, Inc.
 (1484); Sam Levin, Inc. (5198); and Comfort Mattress LLC (4463).



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Order (the “Order”) [D.I. No. 64], dated March 21, 2022, granting the Trustee’s motion for

summary judgment and the motion of the plaintiffs for class-certification. The Trustee cross-

appeals only that portion of the Opinion that found that “liquidating fiduciary” exception does

not apply to the facts set forth in the above-captioned adversary proceeding and the Order only to

the extent it incorporates that portion of the Court’s Opinion holding that the “liquidating

fiduciary” exception to alleged WARN Act liability was not applicable.

        The names of all parties to the Opinion and Order being appealed, as well as the name,

addresses, and telephone numbers of their respective attorneys are as follows:

        1.       Counsel to the Plaintiffs/Appellants Todd Stewart and Jennifer Sawle, on behalf

of themselves and all others similarly situated.

        Michael J. Joyce. Esq.
        Joyce LLC
        1225 King Street, Suite 800
        Wilmington, DE 19801
        Telephone: (302) 388-1944

        Rene S, Roupinian, Esq.
        Jack A. Raiser, Esq.
        Raisner Roupinian LLP
        270 Madison Avenue, Suite 1801
        New York, New York 10016
        Telephone: (212) 221-1747

        2.       Counsel to Alfred Giuliano, Chapter 7 Trustee for Debtors Art Van Furniture,

LLC, et al., Defendants/Appellees.

        Bradford J. Sandler, Esq.
        Beth E. Levine, Esq.
        Colin R. Robinson, Esq.
        Peter J. Keane, Esq.
        Pachulski Stang Ziehl Young & Jones LLP
        919 N. Market Street, 17th Floor
        Wilmington, Delaware 19899-8705
        (302) 778-6403



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Dated: April 14, 2022                   PACHULSKI STANG ZIEHL & JONES LLP


                                        /s/ Bradford J. Sandler
                                        Bradford J. Sandler (Bar No. 4142)
                                        Beth E. Levine (admitted pro hac vice)
                                        Colin R. Robinson (Bar No. 5524)
                                        Peter J. Keane (Bar No. 5503)
                                        919 North Market Street, 17th Floor
                                        Wilmington, DE 19801
                                        Telephone: (302) 652-4100
                                        Facsimile: (302) 652-4400
                                        Email: bsandler@pszjlaw.com
                                                blevine@pszjlaw.com
                                                crobinson@pszjlaw.com
                                                pkeane@pszjlaw.com

                                        Counsel to Alfred T. Giuliano, Chapter 7 Trustee




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